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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiffs,          )                4:06CR3075
                                     )
           v.                        )
                                     )
KENNETH SLOMINSKI, HAROLD            )       REPORT, RECOMMENDATION,
TITUS SWAN,                          )               AND ORDER
                                     )
                Defendants.          )
                                     )


     Pending before me are the following motions:

     •     Defendant Swan’s motion to sever, filing 21;

     •     Defendant Swan’s motion to compel disclosure of Rule
           404(b) Evidence, filing 22;

     •     Defendant Swan’s motion to dismiss, filing 23;

     •     Defendant Swan’s motion to compel production of
           exculpatory materials, filing 24;

     •     The defendants’ joint motion for bill particulars,
           filing 25;

     •     The government’s motion to strike evidence offered in
           support of defendant Swan’s motion to dismiss, filing
           40; and

     •     The defendant’s motion for leave to file a reply brief,
           filing 46.


     The defendant’s motion for leave to file a reply brief,
filing 46, will be granted.        The arguments set forth in
defendant’s reply brief, which is attached to his motion, have
been considered in ruling on the pending motions.


     For the reasons discussed herein, I shall grant the
government’s motion to strike and recommend that the court deny
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defendant’s motion to dismiss, and I shall deny the remaining
motions filed by the defendant.


                              Motion to Sever
                                (filing 21)

      Defendant Swan requests an order severing his trial from
that of co-defendant Kenneth Slominski on the grounds that Swan
will be impermissibly prejudiced by a joint trial.                After the
motion to sever was filed, Slominski moved to enter a guilty
plea.   A change of plea hearing was held before the undersigned
on January 5, 2007.      Defendant Slominski entered a plea of
guilty, and the court has accepted that plea.              See filings 41 &
48.   The case against Slominski will now proceed to the
sentencing phase.       Filing 48.


      Since the indictment against Slominski will not be tried,
Swan, as the sole remaining defendant, will be tried alone.
Accordingly, his motion to sever must be denied as moot.



        Motion to Compel Disclosure of Rule 404(b) Evidence
                            (filing 22)


      Rule 404(b) of the Federal Rules of Evidence states that
evidence of a criminal defendant’s prior crimes, wrongs, or acts
may be admissible to prove motive, opportunity, intent,
preparation, plan, knowledge, identity, or absence of mistake or
accident, “provided that upon request by the accused, the
prosecution in a criminal case shall provide reasonable notice in
advance of trial, or during trial if the court excuses pretrial
notice on good cause shown, of the general nature of any such
evidence it intends to introduce at trial.”              F.R.E 404(b).      The
notice requirement of Rule 404(b) “is intended to reduce surprise

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and promote early resolution on the issue of admissibility.”
F.R.E. 404(b), Committee Note to 1991 Amendments.


     Counsel for the government states he “does not believe that
there is any 404(b) evidence which is going to be offered in the
case-in-chief involving Swan.”         Filing 39 (government’s brief),
p. 2.       The government further agrees to the entry of an order
requiring it to disclose such evidence to Swan if, at a later
time, it chooses to offer Rule 404(b) evidence at trial.
Accordingly, the defendant’s motion to disclose 404(b) evidence
at this time will be denied.         However, in anticipation that the
circumstances may change prior to trial, I shall also order that
should the government later decide to offer Rule 404(b) evidence
at trial, it must disclose this evidence to the defendant on or
before May 31, 2007.



            Motion to Compel Production of Exculpatory Materials
                                 (filing 24)


     Defendant Swan claims the government has not produced all
the Brady or Giglio material to which he is entitled.
Specifically, the defendant requests an order requiring the
government to produce:


        •      Exculpatory statements obtained by the FBI from the
               farmer-borrowers of the First National Bank of
               Holdrege;

        •      Exculpatory witness statements from Office of the
               Comptroller of the Currency (“OCC”) investigators
               interviewed by the FBI;

        •      Rough notes from FBI agents conducting interviews in
               this case;


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     •     Exculpatory witness statements from any witness
           negating “intent to deceive”;

     •     Any notes, correspondence, and statements from the
           Office of the Comptroller of the Currency demonstrating
           that the books and records of the First National Bank
           of Holdrege accurately reflected the loan transactions
           alleged in the indictment; and

     •     Any deals, agreements or understandings, written or
           oral, with any government witness.
Filing 24.


     The government objects to defendant’s motion for production
of exculpatory materials, explaining that the government has
already produced:


     •     Copies of all 302's currently in the possession of the
           United States;

     •     Copies of all reports from the Office of the
           Comptroller of the Currency; and

     •     All documentary evidence in the possession of the
           United States Attorney’s Office provided by the FBI and
           the Office of the Comptroller of the Currency.

Filing 39 (government’s brief), p. 2.


     The government requests “that the court enter an order which
sets forth the current status of case law regarding the
production of exculpatory material, and . . . reflecting that the
United States should provide any exculpatory material as set
forth in Brady v. Maryland, 363 U.S. 83 (1964) and Giglio v.
United States, 405 U.S. 150 (1972), [but] reject the argument set
forth by Swan that the items listed in his motion constitutes
[sic] exculpatory material.”       Id.   The government argues there is
“no evidence before the court that any such exculpatory material
exists or should be produced by the United States.”              Id.    The


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defendant requests an in camera review to verify this statement.
Citing Newton v. Kemna, 354 F.3d 776, 784 (8th Cir. 2004), the
defendant claims he has a due process right to a judicial
determination of whether the requested information is favorable
to the accused and material to his defense.            Filing 24
(defendant’s brief), p.10.


     1.      Farmer-Borrower Statements Obtained by the FBI.


     The defendant believes FBI agents have contacted all of the
farmer-borrowers connected to the Hedge-to-Arrive notes and these
interviews likely produced exculpatory statements, including
statements evidencing a lack of deception on the part of
defendant Swan, yet FBI Form 302 reports1 from every farmer-
borrower have not been produced.2        The government responds that
“[t]o the extent that any FBI 302 reports have been prepared,
those reports have been turned over to the defense.              More
importantly, there is no indication that any of the supposed
interviews have resulted in exculpatory information being
provided.”    Filing 39 (government’s brief), p. 3.


     Brady requires the prosecution to furnish the defendant with
all exculpatory information in the possession of or reasonably
available to the prosecution.       When a defendant files a motion to

     1
      An FBI Form 302 report is an internal investigative report
compiled by an agent from notes taken contemporaneously during a
surveillance or an interview of a suspect or witness. Kiley v.
U.S., 260 F.Supp.2d 248, 254 n. 4 (D.Mass. 2003); U.S. v.
Holihan, 236 F. Supp. 2d 255, 263-64 (W.D.N.Y. 2002).
     2
      Since the argument raised in support of compelling
production of farmer-borrower 302 reports is nearly identical to
that advanced in requesting all statements from witnesses
evidencing Swan’s lack of deception, (see filing 24, p. 1, ¶ 4,
and pp. 5 & 7-8), these claims will be discussed together.

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compel alleging Brady materials have been withheld, the defendant
must make a preliminary showing demonstrating that the
information he requests is exculpatory.                U.S. v. Krauth, 769 F.2d
              th
473, 476 (8        Cir. 1985).


     The government states that it has turned over all farmer-
borrower witness reports, and there is no evidence to the
contrary.    Swan’s belief3 that additional 302 interview
statements should exist, and that these statements may be
exculpatory, does not constitute a showing that the government
has withheld exculpatory witness reports.               Accordingly, the
defendant has failed to make the threshold showing necessary for
an order compelling the production of additional farmer-borrower
statements.        Krauth, 769 F.2d at 476 (affirming trial court’s
denial of defendant’s motion to compel because defendant’s mere
allegation of wrongful government conduct was insufficient to
make necessary preliminary showing of nondisclosure in violation
of Brady).


     The court cannot order the government to produce, and cannot
itself perform an in camera review of documents that do not
exist.   Moreover, the government has agreed to promptly turn over


     3
      Defendant argues:

     Defendant Swan has a good faith belief that government
     investigators have interviewed each and every
     farmer-borrower of the First National Bank of Holdrege.
     These interviews, only a few of which have been
     disclosed through an FBI 302 report, are relevant to
     the issues in this litigation. Moreover, to the extent
     these interviews discuss Defendant Swan’s limited role
     in the farmer-borrower loans then this information
     would tend to exculpate him.

See filing 46 (defendant’s reply brief), p. 8.

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to the defendant any additional FBI 302 reports that may become
available.    Accordingly, to the extent the defendant is
requesting an order compelling production of existing FBI 302s,
the request will be denied.        However, consistent with the
government’s statement, the court will order the government to
promptly produce any FBI 302s which may be created in the future
that are relevant to its investigation of the charges against
Swan.


     2.    OCC Investigator Statements, Notes, and Correspondence.


     The defendant claims the FBI has failed to produce copies of
documents and reports memorializing its discussions with
investigators from the Office of the Comptroller of the Currency,
(“OCC”).   In support of this claim, the defendant states that an
April 8, 2002 report authored by OCC National Bank Examiner
Thomas Jorn verifies “continued discussions” between the OCC and
FBI agents; the government has not produced corresponding
statements reflecting these discussions; and the statements must
be exculpatory because the OCC determined that the First National
Bank of Holdredge (FNBH) records “all clearly noted the
CLN/farmer note/HTA Other Assets relationship.”             Filing 24
(defendant’s brief), p. 6.


     The defendant also claims that although the government has
provided the OCC’s original 1998 report and 2002 follow-up report
regarding its investigation of FNBH, he believes the documents
underlying these reports must include exculpatory information
because the 2002 OCC investigative report states no criminal
referral was warranted.     The defendant claims the government has
not produced any correspondence, notes, or statements from either
the FBI or the OCC relating to the 2002 report, and he believes


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such documents must exist because the 2002 OCC report notes that
FBI agents Rawalt and Schreus were in contact with the OCC.
Filing 24, (defendant’s brief), p. 9.


     The government responds that the FBI does not have to
prepare a 302 report of discussions with other government
agencies; there is no showing that the FBI’s “continued
discussions” with the OCC lead to exculpatory information; and
the government has already turned over all 302 reports, OCC
reports, and documents related to the OCC investigation.                Filing
39 (government’s brief), pp. 3-5.        As with the farmer-borrower
reports, the defendant has failed to show that further
exculpatory information exists.        His motion to compel such
information, and his request for in camera review, will be
denied.


     3.    Rough Notes from FBI Agents Conducting Interviews.


     As to the Form 302 reports produced by the government, the
defendant claims the FBI failed to exercise diligence in
preparing and drafting the reports.         He claims the reports were
not promptly transcribed after witnesses were interviewed, and
therefore the agents’ rough notes must be produced so the
defendant can review the agent’s present-sense impression from
the interviews, unaltered by the collective information received
during later interviews and investigations.            “The only manner in
which to preserve potentially exculpatory information contained
in the notes is to preserve and disclose the notes to
defendants.”   Filing 24 (defendant’s brief), p. 24.


     The government acknowledges that it is obligated to disclose
any FBI “rough notes” which may reflect exculpatory or


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impeachment information, but argues the FBI’s delay in preparing
302 reports does not prove or tend to prove that the underlying
rough notes contain exculpatory information not already
disclosed.    Filing 39 (government’s brief), p. 4.              There is no
evidence that any witness interviewed contends his/her 302 report
is inaccurate or incomplete.       See e.g. U.S. v. Anderson, 36 F.
Supp. 2d 1264 (D.Kan. 1998).       Rather, “there is simply no
indication, based upon the assertions made by the defendant, that
turning over rough notes is warranted.”              Filing 39 (government’s
brief), p. 4.     Accordingly, the defendant’s motion to compel the
FBI agents’ “rough notes” will be denied.


     4.      Evidence of Deals, Agreements or Understandings,
             Written or Oral, with Any Government Witness.


     The defendant claims he was indicted, but far more culpable
bank officials were not.      He therefore believes the government
made either formal or informal agreements with other bank
officials to testify and/or provide information against him in
order to avoid criminal charges.         He seeks disclosure of such
information for impeachment purposes.


     The government has responded as follows:


     The United States believes that this information should
     be turned over to the defendant. At the present time,
     there are simply no agreements that are currently in
     the possession of the United States. When agreements
     are executed with government witnesses, those will be
     turned over to the defense. Until that time, the
     government believes it is sufficient that the court
     note that the government’s responsibility to produce
     Brady and Giglio material is ongoing and should be
     provided to the defendant at the earliest possible
     time.



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Filing 39 (government’s brief), p. 5.           The government’s position
is consistent with its legal obligations.            The court will enter
an order accordingly.


                    Motion for Bill of Particulars
                              (filing 25)


     Defendants Swan and Slominski have jointly moved for a bill
of particulars.    “A bill of particulars serves to inform the
defendant of the nature of the charge against him with sufficient
precision to enable him to prepare for trial, to avoid or
minimize the danger of surprise at trial, and to enable him to
plead his acquittal or conviction in bar of another prosecution
for the same offense when the indictment is too vague and
indefinite.”    United States v. Hernandez, 299 F.3d 984, 989-90
(8th Cir. 2002).


     As explained above, to the extent that filing 25 includes
Slominski’s request for a bill of particulars, the motion will be
denied as moot.


     Defendant Swan requests a bill of particulars which provides
the following information:


     1.    The names of persons known to the government that are
           alleged to have conspired to violate the offenses set
           forthe in Count I of the Indictment.

     2.    The identity of the representative of CLN described in
           Count I of the Indictment.

     3.    The names of all persons attending meetings on or about
           April 1, 1996 as alleged in Count I, Paragraphs 7 and 8
           of the Indictment.



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     4.    The name of the Bank employee meeting with Harold Titus
           Swan and a representative of CLN on or about April 8,
           1996 as alleged in Count I, Paragraph 10 of the
           Indictment.

     5.    Each representation the government alleges Harold Titus
           Swan made and the identity of each farmer to whom such
           representations were made as alleged in Court I,
           Paragraph 11 of the Indictment.

     6.    The identity of the “others” involved in devising the
           scheme alleged in Count I, Paragraphs 12 and 13 of the
           Indictment.

     7.    Each alleged false representation made by Harold Titus
           Swan to bank examiners as alleged in Count I, Paragraph
           18 of the Indictment; the date of each alleged false
           representation; and to whom each such alleged false
           representation was made.

     8.    A listing of each and every materially false entry made
           in the books, reports and statements of the First
           National Bank of Holdrege as applicable to Counts II
           through XXIII of the indictment.

Filing 25 (Motion for Bill of Particulars), pp. 1-2.               Swan claims
the 35-page indictment lacks clarity and fails to provide even
the most basic facts necessary to ensure that he is appropriately
apprised of the charges and facts against him, and in particular,
claims the indictment fails to provide necessary details
concerning alleged co-conspirators and the alleged basis of the
crimes charged.    Filing 25 (Motion for Bill of Particulars), p.
2.


     The government’s 35-page indictment was filed in May 2006,
and Swan’s counsel has represented him since June 2006.                See
filing 10.   Rule 16 discovery was provided to the defendant by
the government on July 21, 2006.          See filing 16 (Government’s
Notice Pursuant to NECrimR 16.1(a)).          The government has
disclosed copies of all existing FBI 302 reports, OCC reports,


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and documentary evidence of the FBI and OCC related to the
investigation of this case, totaling three to four boxes of
documentary information.      Swan’s motion for bill of particulars
seeks more information and more detailed disclosures regarding
the government’s allegations and what it intends to prove at
trial.


     Nebraska Criminal Rule 12.3(b)(3), which became effective on
August 6, 2004, states:


     In the case of a motion seeking discovery or disclosure
     of evidence, the motion must include a statement
     verifying that counsel for the moving party has
     conferred with opposing counsel in person or by
     telephone in a good-faith effort to resolve by
     agreement the issues raised by the motion and that the
     parties have been unable to reach such an agreement.

NECrimR 12.3(b)(3).     The purpose of this rule is to require the
parties to accept the initial responsibility of resolving any
disputes over disclosure of information.             A court may, as it has
in this case, conduct multiple hearings regarding pretrial
matters and case progression.        However, counsel and the parties
focus on the details of a case over a period of months and are
much more informed concerning the disputed issues and the
discovery exchanged.     The parties are therefore better equipped
to engage in informed discussions and potentially resolve
disputes over pretrial disclosures of evidence or discovery.
Although court intervention is sometimes necessary, the laboring
oar for resolving discovery disputes should, and under this
court’s rules, does rest in the first instance with the parties.
Requiring the parties to engage in good faith discussions before
filing discovery motions allows for faster case progression and a
more efficient use of judicial and attorney resources.                These



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policies underlying NECrimR 12.3(b)(3), while applicable to all
criminal cases, are even more important in complex cases.


     The government’s case against Swan involves complex
financial transactions, 23 separate charges of criminal conduct,
and 52 alleged overt acts in furtherance of a criminal
conspiracy.    The government’s brief states that some (but not
all) of the requests set forth in the motion for bill of
particulars could have been easily discussed by telephone; that
as to some requests, the defendant’s motion “borders on the
ridiculous;” as to others, “it is simply incomprehensible” to
believe the government should have to specify in a bill of
particulars what has already been specified in the indictment;
and that request 8 “is nothing more than an attempt to harass the
United States.”    Filing 39 (government’s brief), p. 7-8.


     Whatever the merit of the government’s characterizations and
arguments, it is clear that discussing the matters raised by
Swan’s motion for bill of particulars may have substantially
narrowed the issues now pending before me.            That discussion
should have occurred before the motion was filed.              This court
will not overlook the requirements of its local rules and expend
judicial resources resolving the merits of defendant’s motion for
bill of particulars when the defendant has apparently made no
good faith effort to resolve or limit the dispute on his own.
Swan’s motion for bill of particulars will be denied.




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                            Motion to Dismiss
                               (filing 23)

    Motion to Strike Evidence in Support of Motion to Dismiss
                           (filing 40)


     Defendant Swan has filed a motion to dismiss, arguing that
under the undisputed evidence, the government cannot prove the
charges of the indictment.         Specifically, the defendant claims
that regulatory violations cannot establish criminal charges in
the absence of additional evidence of criminal conduct, and no
such evidence exists in this case because the uncontested facts
fail to establish that he illegally concealed the true nature of
nominee loans with the intent to deceive or defraud a financial
institution.    He therefore claims the indictment must be
dismissed for lack of evidentiary support.


     An indictment is sufficient if it includes the elements of
the offense, provides adequate notice of the charge, and enables
the defendant to plead double jeopardy as a bar to further
prosecution.    Hamling v. United States, 418 U.S. 87 (1974);
United States v. Hernandez, 299 F.3d 984, 992 (8th Cir. 2002);
United States    v. Diaz-Diaz, 135 F.3d 572, 575-76 (8th Cir.
1998).   “An indictment will ordinarily be held sufficient unless
it is so defective that it cannot be said, by any reasonable
construction, to charge the offense for which the defendant was
convicted.”    Hernandez, 299 F.3d at 992.


     Swan does not claim the indictment is facially defective.
Rather, he argues “the government has charged a crime it cannot
prove because the uncontested facts do not establish the criminal
offenses charged.”      Filing 23 (Motion to Dismiss) p. 2, n. 1.               In
support of this argument, Swan offers the 2002 OCC report.                  See


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filing 23, ex. 1.       The government has moved to strike the 2002
OCC report, arguing that the court cannot consider evidence
beyond the face of the indictment when considering a pretrial
motion to dismiss a criminal case.          Filing 40 (Government’s
Motion to Strike).


     The defendant’s motion to dismiss relies on an underlying
assumption that the court may, on pretrial motion, decide whether
the government has sufficient evidence to obtain a conviction
and, if it decides in favor of the defendant, dismiss the
indictment.    That assumption is incorrect.           A court cannot
dismiss a facially valid indictment because it weighed the
evidence supporting a probable cause finding and concluded the
indictment is supported by incompetent or insufficient proof.


     If indictments were to be held open to challenge on the
     ground that there was inadequate or incompetent
     evidence before the grand jury, the resulting delay
     would be great indeed. The result of such a rule would
     be that before trial on the merits a defendant could
     always insist on a kind of preliminary trial to
     determine the competency and adequacy of the evidence
     before the grand jury. This is not required by the
     Fifth Amendment. An indictment returned by a legally
     constituted and unbiased grand jury, like an
     information drawn by the prosecutor, if valid on its
     face, is enough to call for trial of the charge on the
     merits. The Fifth Amendment requires nothing more.

Costello v. U.S., 350 U.S. 359, 363 (1956).             See also United
States v. Williams, 504 U.S. 36, 55 (1992)(a court cannot dismiss
an otherwise valid indictment even if the prosecutor failed
to present exculpatory evidence to the grand jury); United States
v. Johnson, 767 F.2d 1259, 1275 (8th Cir. 1985)(a facially valid
indictment should not be dismissed for insufficient evidence if
there is some competent evidence to sustain the charge issued).


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     Swan argues that this court should adopt and apply an
exception to this rule.      Citing United States v. Finn, 919 F.
Supp. 1305 (D. Minn. 1995), and United States v. Brown, 925 F.2d
1301 (10th Cir. 1991), Swan argues that this court can and should
consider the OCC report and dismiss the indictment.               Finn,
relying on Tenth Circuit law, stated “it is permissible, and even
desirable in certain circumstances, for the Court to examine the
factual predicates of an Indictment, particularly where material
facts are undisputed, in order for the Court to ascertain whether
the elements of the criminal charge can be shown.”              Finn, 919 F.
Supp. at 1343 (citing United States v. Hall, 20 F.3d 1084, 1087
(10th Cir. 1994); Brown, 925 F.2d at 1304).           However, in Finn,
the government objected to the court’s review of evidence in
ruling on a motion to dismiss.        Recognizing the limited scope of
the court’s right to review such evidence, Finn “decline[d] any
invitation to assess the weight of the anticipated evidence at
Trial, and [assessed] the sufficiency of the challenged Counts
upon the face of the Indictment’s allegations. . . .”               Finn, 919
F.Supp. at 1344.


     Though the Tenth Circuit does permit the trial court to
consider evidence on pretrial motions to dismiss, that authority
is limited to “circumstances where the operative facts are
undisputed and the government fails to object to the district
court’s consideration of those undisputed facts in making the
determination regarding a submissible case.”             U.S. v. Hall, 20
F.3d 1084, 1088 (10th Cir. 1994).4        See also United States v.


     4
      The defendant also relies on U.S. v. Shortt Accountancy
Corp., 785 F.2d 1448, 1452 (9th Cir. 1986). However, Shortt
upheld the trial court’s refusal to conduct an evidentiary
hearing on a motion to dismiss, holding that when a pretrial
motion is substantially founded upon and intertwined with
evidence concerning the alleged offense, the motion falls within
the province of the ultimate finder of fact and must be deferred
until trial.

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Risk, 843 F.2d 1059 (7th Cir. 1988)(holding that pretrial
dismissals based on the undisputed facts may be warranted where
the government fails to timely object).              The parties have not
cited, and the court has not found, any Eighth Circuit case
adopting even this highly limited authority to review the
sufficiency of evidence when ruling of pretrial motions to
dismiss.


      The government has objected and moved to strike the
defendant’s evidence in support of the motion to dismiss.                 Filing
40.   Since the defendant’s evidence, the 2002 OCC report, should
not be considered, the government’s motion to strike should be
granted.


      The defendant’s motion to dismiss rests on his claim that
the OCC 2002 report “effectively defuses the government’s basis
for the criminal charge.”      Filing 23 (defendant’s motion to
dismiss), p.9.    The defendant has not challenged the sufficiency
of the allegations of the indictment itself.              I shall therefore
recommend that Swan’s motion to dismiss be denied.



     IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Richard
G. Kopf, United States District Court Judge, pursuant to 28
U.S.C. §636(b)(1)(B), that the government’s motion to strike the
defendant’s evidence offered in support of his motion to dismiss,
filing 40, be granted, and that defendant Swan’s motion to
dismiss, filing 23, be denied in all respects.


     The parties are notified that a failure to object to this
recommendation in accordance with the local rules of practice may
be held to be a waiver of any right to appeal the district
judge’s adoption of this recommendation.




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     IT IS FURTHER HEREBY ORDERED:

     1.    Defendant Swan’s motion for leave to file a reply
           brief, filing 46, is granted, and the arguments set
           forth in the reply brief attached to defendant’s motion
           have been considered in ruling on the defendant’s non-
           dispositive pretrial motions and in issuing the report
           and recommendation on defendant’s motion to dismiss.

     2.    Defendant Swan’s motion to sever, filing 21, is denied
           as moot.

     3.    Defendant Swan’s motion to compel disclosure of Rule
           404(b) evidence, filing 22, is denied. However, should
           the government later decide to offer Rule 404(b)
           evidence at trial, it must disclose this evidence to
           the defendant on or before May 31, 2007.

     4.    As to defendant Swan’s motion to compel production of
           exculpatory materials, filing 24:

           a.    Defendant’s motion to compel production of
                 existing FBI Form 302 reports containing
                 exculpatory statements obtained from
                 farmer-borrowers of the First National Bank of
                 Holdrege, including those negating Swan’s “intent
                 to deceive,” is denied. However, if FBI Form 302
                 reports relevant to the charges against Swan are
                 created in the future, the government shall
                 promptly provide these documents to the defendant.

           b.    Defendant’s motion to compel production of
                 exculpatory witness statements from the Office of
                 the Comptroller of the Currency investigators
                 interviewed by the FBI, and any notes,
                 correspondence, and statements from the Office of
                 the Comptroller of the Currency regarding its
                 investigation of the books and records of the
                 First National Bank of Holdrege, is denied.

           c.    Defendant’s motion to compel production of the FBI
                 agents’ “rough notes” for interviews conducted in
                 this case is denied.

           d.    Defendant’s motion to compel production of any
                 existing deals, agreements or understandings,
                 written or oral, with any government witness, is
                 denied. However, the government’s responsibility

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                 to produce Brady and Giglio material is ongoing.
                 If any oral or written deals, agreements or
                 understandings are later made with any government
                 witness, the government shall promptly provide
                 this information to the defendant.


     5.    As to the defendants’ joint motion for bill of
           particulars, filing 25:

           a.    Defendant Slominski’s motion for bill of
                 particulars is denied as moot.

           b.    Defendant Swan’s motion for bill of particulars is
                 denied.


     Dated January 29, 2007.


                                   BY THE COURT:


                                   s/  David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge




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